                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                 KNOXVILLE – COURTROOM 3A

  Case #: 3:22-mj-2228                                                 Date: December 21, 2022

                 United States of America         vs. Austin Carter

       3UHVHQWEHIRUH Honorable Jill E. McCook, United States Magistrate Judge

       Mallory Dahl             ECRO                                    Michelle Gensheimer
       Deputy Clerk             Court Reporter                          /DZ&OHUN


       Casey Arrowood                                                   Joshua Hedrick
       $VVW86$WW\           863UREDWLRQ2IILFHU                 $WWRUQH\ V IRU'HIHQGDQW V 

           Proceedings: Parties present for a   SUHOLPLQDU\KHDULQJ✔ GHWHQWLRQKHDULQJ +HDULQJ KHOG
        ✔ Defendant sworn.
          3DUWLHVDJUHHGWRFRQGLWLRQVRIUHOHDVH
        ✔ *RYHUQPHQWUHTXHVWHGGHWHQWLRQRIWKHGHIHQGDQWDQGDUJXPHQWVKHDUG
          ([KLELWVPDUNHGDQGDGPLWWHG
        ✔ :LWQHVVHVVZRUQDQGWHVWLPRQ\KHDUG: Destiny Carter (Defendant's Witness)


           &RXUW)LQGLQJV
          &RXUWIRXQGWKDWWKHUHDUHFRQGLWLRQVRQZKLFKWKHGHIHQGDQWFRXOGEHUHOHDVHGSHQGLQJIXUWKHU
          SURFHHGLQJV'HIHQGDQWDJUHHGWRFRQGLWLRQV2UGHU6HWWLQJFRQGLWLRQVRIUHOHDVHWRHQWHU
        ✔ &RXUWIRXQGWKDWWKHUHDUHQRFRQGLWLRQVRQZKLFKWKHGHIHQGDQWFDQEHUHOHDVHGDWWKLVWLPHDQG
          UHPDQGHGWKHGHIHQGDQWWRFXVWRG\SHQGLQJIXUWKHUSURFHHGLQJV
          &RXUWVHWDQDGGLWLRQDOKHDULQJDQGUHPDQGHGWKHGHIHQGDQWWRFXVWRG\SHQGLQJWKDWKHDULQJ
          &RXUWWRRNPDWWHUXQGHUDGYLVHPHQW2UGHUWRHQWHU

Dates set at this hearing:

   HearinJWRFRQWLQXH:
   2WKHU+HDULQJ

   ✔   Defendant remanded to custody.        Defendant released on Order Setting Conditions of Release.

Time: 11:00 a.m.          to   12:30 pm

  IMallory Dahl  , Deputy Clerk, CERTIFY the official record of this proceeding is DQDXGLRILOH
  Knox-DCR_ 322mj2228 _ 122122 _


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